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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:     Plaintiff Enttech Media Group LLC
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER:
ENTTECH MEDIA GROUP LLC
                                                                                                     2:20-cv-06298
                                                               Plaintiff(s),
                                     v.
OKULARITY, INC., et al.
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                          Plaintiff Enttech Media Group LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                    CONNECTION / INTEREST
Tom Florio                                                                     Member
Drew Elliot                                                                    Member
                                                                               Member
XRM Media International LLC                                                    Member
3 Brothers Café LLC




          July 16, 2020
         Date                                               Signature


                                                            Attorney of record for (or name of party appearing in pro per):
                                                             Plaintiff Enttech Media Group



CV-30 (05/13)                                             NOTICE OF INTERESTED PARTIES
